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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   PEDRO VALENCIA-AYALA, et al.,                      Case No.: 20-cv-2060-DMS-KSC
12                         Petitioner-Plaintiffs,
                                                        ORDER (1) SUSPENDING CIVIL
13   v.                                                 ARRESTS AND (2) SETTING
                                                        BRIEFING SCHEDULE
14   U.S. IMMIGRATION AND CUSTOMS
     ENFORCEMENT, et al.,
15
                       Respondent-Defendants.
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18         On October 21, 2020, this matter came before the Court for a status conference.
19   Upon agreement of the parties, it is ordered that U.S. Immigration and Customs
20   Enforcement (“ICE”) and U.S. Border Patrol (“USBP”) shall suspend civil arrests on the
21   grounds of the U.S. District Court for the Southern District of California courthouse
22   complex for a period of three weeks. This order shall be in effect through November 11,
23   2020, pending the following briefing schedule:
24         Respondent-Defendants shall file a response to Petitioner-Plaintiffs’ motion for
25   temporary restraining order on or before October 30, 2020. Petitioner-Plaintiffs may file
26   a reply on or before November 4, 2020. Hearing on the motion is set for November 10,
27   2020 at 10:00 a.m.
28         ///

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                                                                             20-cv-2060-DMS-KSC
     Case 3:20-cv-02060-DMS-KSC Document 5 Filed 10/21/20 PageID.181 Page 2 of 2



 1         IT IS SO ORDERED.
 2   Dated: October 21, 2020
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